Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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Case 8:20-ap-01023-TA   Doc 1 Filed 02/27/20 Entered 02/27/20 10:31:13   Desc
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